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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

BERNICE NEWMAN,

                Plaintiff,

        v.                                               Civil Action No. 2:11-CV-02765

DEUTSCHE BANK NATIONAL TRUST
COMPANY, F/K/A BANKERS TRUST
COMPANY OF CALIFORNIA, N.A., AS
TRUSTEE FOR THE BENEFIT OF THE
CERTIFICATE HOLDERS OF THE
AAMES MORTGAGE TRUST,
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2001-1; BANK
OF AMERICA, N.A.; NATIONWIDE
TRUSTEE SERVICES, INC. and WILSON
& ASSOCIATES, P.L.L.C.,

                Defendants.

     AGREED ORDER RESCINDING TRUSTEE’S SALE AND SETTING ASIDE
   TRUSTEE’S DEED; REVIVING AND REINSTATING THE ORIGINAL DEED OF
            TRUST AND DISMISSAL OF CASE WITH PREJUDICE

        Counsel for the all of the Parties to this action, as evidenced by their signatures below,

respectfully submit the following agreement:

        1.      The Trustee’s Sale conducted on May 19, 2011, by Nationwide Trustee Services,

Inc., Successor Trustee, is rescinded in its entirety as to the following real property in Shelby

County, Tennessee:

                Lot 140, Section D, Kenrick Subdivision, of record in Plat Book 35, page 30, of
                the Register’s Office of Shelby County, Tennessee, to which reference is here
                made for a more particular description thereof.

                Being the same property conveyed to Bernice Newman by Deed recorded
                December 16, 1971 as Document No. G6 0461, in the Register’s Office for
                Shelby County, Tennessee.




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                Commonly known as: 4448 Whiteside Street, Memphis, Tennessee 38109.

                Tax Parcel No. 076-0500-0-00011-0.

        2.      The Trustee’s Deed dated May 19, 2011, and being recorded as Instrument No.

11057101 in the Register’s Office for Shelby County, Tennessee, is set aside and is of no force

or effect.

        3. This Order shall be filed for record in the Register’s Office for Shelby County,

Tennessee upon the Order becoming final thirty (30) days from entry by this Court.

        4. The Parties agree that this Order revives and reinstates the Original Deed of Trust

executed by Bernice Newman on January 17, 2001, of record as Instrument No. KU6567 in the

Register’s Office for Shelby County, Tennessee (the “Deed of Trust”), and thereby fully

reinstates the terms and conditions of the Deed of Trust and the promissory note secured by the

Deed of Trust as originally contemplated, agreed upon, and entered into by Newman on said

date, with the exception of any loan modification agreement the Parties have agreed to and have

executed or will execute. Newman expressly agrees that she shall make her mortgage payments

as set forth in the loan documents.

        5. All parties stipulate that the individuals affixing their names to this Order are doing so

in their representative capacities for their respective clients and are fully authorized by said

clients to bind them by signing and executing this agreement and that with the entry of this

Agreed Order this action shall be dismissed with prejudice.

        ENTERED this the _____ day of ____________________, 2013.



                                                  S. THOMAS ANDERSON
                                                  UNITED STATES JUDGE




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APPROVED FOR ENTRY:



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